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                                                                                               Tyler Haslam <tyler@haslamlawfirm.com>



  Hudson v. Racer, et al.
  1 message

  KERRY NESSEL <nessel@comcast.net>                                                         Wed, Sep 11, 2024 at 2:17 PM
  To: "jstebbins@flahertylegal.com" <jstebbins@flahertylegal.com>, "Wendy E. Greve" <wgreve@pffwv.com>, Jayne Hudnall
  <jhudnall@pffwv.com>
  Cc: "tyler@haslamlawfirm.com" <tyler@haslamlawfirm.com>

     Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page
     internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions.
     As the Court entered and order yesterday extending the deposition deadline to Sept 27 and the
     recent disclosure, we believe our request is reasonable.
     Please let me know ASAP.
     Additionally, considering Racer had been brutally battered by no less than 5 men at a bar and
     suffered significant physical injuries, including a brain bleed and broken orbital bone on his left
     side, we request his medical records concerning the same.
     Further, we are willing to travel to the WVSP academy to conduct this deposition.
     Finally, please provide us dates for your availability to depose Lt. Pile. I assume this will have to
     take place in Chas.
     Thanks.




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